                           U.S. Bankruptcy Court - District of Kansas
                                  Court Room Minute Sheet
                                          5/18/2021
                              Hon. Mitchell L. Herren, Presiding


01:30 PM                          EVIDENTIARY HEARING
__________________________________________________________________________
Case Information:
          20-05073 Loyle et al v. United States Department of Education et al Leadcase: 19-
10065 Paris Edward Thomas Loyle and Katherine Christine Loyle
Judge: MLH Filed: 05/12/2020          Pln Confirmed:
__________________________________________________________________________
Appearances:
X       January M Bailey representing Paris Edward Thomas Loyle (Plaintiff)
X       January M Bailey representing Katherine Christine Loyle (Plaintiff)
X       Brian D Sheern representing United States Department of Education (Defendant)
X       David Alan Gellis representing Navient Solutions LLC (Defendant)
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Issue(s):
#1      Complaint by January M Bailey on behalf of Paris Edward Thomas Loyle, Katherine
        Christine Loyle against United States Department of Education, Navient Solutions LLC,
        Educational Credit Management Corporation, FedLoan Servicing, Educational
        Computer Systems, Inc, R3 Education Inc, FirstMark Services, Citizens One, TAB
        Bank, American Education Services. Receipt Number waived, Fee Amount $350
        Nature(s) of Suit: (63 (Dischargeability - 523(a)(8), student loan)) (Attachments: # 1
        Supplement Adversary Proceeding Cover Sheet)
**      Answer filed by US Department of Education (#56, 6/4/20)
**      Answer filed by Navient Solutions LLC (#57, 6/9/20)
**      Final Pre-Trial Order (#109, 3/30/21)
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Notes/Decision: Debtors, Paris Edward Thomas Loyle and Katherine Christine Loyle appear.

Jointly submitted Exhibits #1 – 56 (see attached list) are offered and admitted by stipulation by
all the parties. Exhibit 57 and Exhibit 58 will be entered into evidence. Counsel have limited
objections as to the mathematical calculations as they have not had time to verify the
information. If Counsel find any errors with the calculations, they should contact the Court by
the end of the week.

Extensive stipulations submitted as to terms of the loans , when they were taken out and the
payment history of the loans. The Court has reviewed Stipulations [125] [126] and [127] filed
5/17/2021.

Witnesses Sworn:      Paris Edward Thomas Loyle and Katherine Christine Loyle

Ruling: Matter taken under advisement.
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Courtroom Deputy: Annette Albright
ECRO: Debbie Holloway


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57       Summary Exhibit - Loyle         X    X      X       " "
         Loan Disbursements (DOE)

58       Summary Exhibit - Loyle         X    X       X       " "
         Loans




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